
PER CURIAM.
We review the order of the trial court summarily denying Bruce L. Byrd’s motion filed pursuant to Florida Rule of Criminal Procedure 3.800, alleging his right to be resentenced under the 1994 sentencing guidelines.
The Supreme Court of Florida has recently held that the operative window period in which to challenge the sentencing guideline provisions amended by Chapter 95-184, Laws of Florida, commenced- on October 1, 1995, and ended on May 24, 1997. See Trapp v. State, 760 So.2d 924 (Fla.2000). As we did in Speed v. State, 764 So.2d 873 (Fla. 4th DCA 2000), we agree with Judge Altenbernd’s analysis in Smith v. State, 761 So.2d 419 (Fla. 2d DCA 2000), on the need to remand such cases for a recalculation of the defendant’s sentences under the 1994 guidelines score-sheet.
*941Accordingly, we reverse the order denying 3.800 relief and remand for consideration of whether resentencing is required pursuant to Heggs v. State, 759 So.2d 620 (Fla.2000)(revised opinion).
WARNER, C.J., STEVENSON and SHAHOOD, JJ., concur.
